            Case 1:09-cv-00430-AWI-EPG Document 395 Filed 04/14/17 Page 1 of 2


 1

 2

 3

 4

 5                                    UNITED STATES DISTRICT COURT
 6                                  EASTERN DISTRICT OF CALIFORNIA
 7

 8   GERALD CARLIN, JOHN RAHM, PAUL                              CASE NO. 1:09-CV-00430 AWI EPG
     ROZWADOWSKI and DIANA WOLFE,
 9                                                               ORDER ON CALIFORNIA DAIRIES,
     individually and on behalf of themselves and
                                                                 INC.’S REQUEST TO SEAL
10   all others similarly situated,                              DOCUMENTS AND FILE REDACTED
                                                                 VERSIONS
11                                      Plaintiffs,
                                                                 (Doc. No. 386)
12           v.
13
     DAIRYAMERICA, INC., and
14   CALIFORNIA DAIRIES, INC.,

15                                      Defendants.

16

17

18           This matter comes before the Court on Defendant California Dairies, Inc.’s (“California

19   Dairies”) Request to Seal Documents and File Redacted Versions (“Request”) pursuant to Civil

20   Local Rules 140 and 141. Upon consideration of the Request, the papers submitted in support

21   thereto, and good cause appearing, the Request will be granted.1

22

23                                                        ORDER

24           Accordingly, IT IS HEREBY ORDERED that:

25           1.       California Dairies is permitted to file redacted versions of California Dairies’

26                    Opposition (“Opposition”) to Plaintiffs' Motion (“Motion”) for Leave to File

27   1
      The Court notes that a stipulated protective order was approved by the Magistrate Judge in April 2013. See Dkt.
28   129. The Court further notes that it granted Plaintiffs' request to seal portions of its Motion and the 4AC. See Dkt.
     379.
          Case 1:09-cv-00430-AWI-EPG Document 395 Filed 04/14/17 Page 2 of 2


 1                Fourth Amended Consolidated Complaint (“4AC”) on the public docket, and
 2                California Dairies will email the un-redacted version of the Opposition to
 3                ApprovedSealed@caed.uscourts.gov for filing under seal; and
 4         2.     Only the parties' counsel of record, the Court and its staff shall have access to the
 5                un-redacted documents.
 6
     IT IS SO ORDERED.
 7

 8   Dated: April 14, 2017
                                                SENIOR DISTRICT JUDGE
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                     2
